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                                       /s/ Reginald D. Johnson
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                                      /s/ Reginald D. Johnson
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                                        /s/ Reginald D. Johnson
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